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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

UNITED STATES OF AMERICA

v.                                                         NO. 4:20-CR-269-Y
ERIC PRESCOTT KAY


 GOVERNMENT’S UNOPPOSED AND AGREED MOTION TO EXTEND TIME
  TO ELECTRONICALLY FILE PARTIES’ WITNESS AND EXHIBIT LISTS

         The parties are required to file witness and exhibit lists in this matter on February

1, 2022. On January 31, 2022, the government filed a motion to file its witness and

exhibit lists under seal. (Dkt. 105.) For the reasons expressed in its Unopposed Motion

to File the Witness and Exhibit Lists under seal, the government respectfully requests that

the Court extend time for the parties to electronically file their witness and exhibit lists

until the conclusion of trial testimony. The government conferred with the defendant,

who indicated that he does not oppose and agrees to the relief requested in this motion.

In order to continue trial preparation and in spirit of the Court’s Order, the parties have

agreed to exchange their witness and exhibit lists via email on February 1, 2022.

         For the foregoing reasons, the government respectfully requests that the parties’

deadline to electronically file witness and exhibit lists be extended to the conclusion of

testimony in this trial. 1




        The government recognizes that should the Court grant this motion, its Motion to File Witness
         1

and Exhibit Lists Under Seal would be moot.


Government’s Unopposed and Agreed
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                                                Respectfully submitted,

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                                                United States Attorney

                                                s/ Lindsey Beran
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                            CERTIFICATE OF CONFERENCE

      I certify that on February 1, 2022, the government conferred with Michael
Molfetta, counsel for defendant Eric Kay, and he indicated that he did not oppose, and
agreed with, the relief requested in this filing.

                                                s/ Lindsey Beran
                                                Lindsey Beran
                                                Assistant United States Attorney




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